_ Case 1:18-cr-00083-TSE Document 257-1 Filed 08/21/18 Page 1 of 2 PagelD# 5560

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division
UNITED STATES OF AMERICA
CASE NO. 1:18-CR-83-TSE
V.

PAUL J. MANAFORT, JR.,

)

)

)

) Trial Date: July 31,2018

)

) The Honorable T. S. Ellis, III
)
)

Defendant.

GOVERNMENT'S WITNESS LIST

The United States of America, by and through undersigned counsel, hereby submits its
list of potential witnesses.
1. Ah, Hesham
(3M. Ayliff, Philip 8] 2] 20487, $13] 01%
Gd? 3. Brennan, James &3\ \g\2e iF

4. Day. John
(3) / 5. DeLuca, Douglas 8] 4.|2018
4) Jo. Devine, Tad HBY ZOIY
7. Duggan, Donna
/8. Evenson, Darin $14] 2018"
Go). Gates. Richard 8/6/2018’, 819] 2018 8 [812048
Ao. Holland, Wayne 8] 4] 204.8
(B)41. Jacobson, Stephen B JV] ZO1X’
(jaw 2. James, Melinda §]Q /Q0)¥
_ Case 1:18-cr-00083-TSE Document 257-1 Filed 08/21/18 Page 2 of 2 PagelD# 5561

(4) As. Katzman, Maximillian 8 /4.]2018°
@®) A4. Kivimea, Irfan 8)} 0) 2018
(4) As Laporta, Cindy 8|3|201.8" § [{ 2018
16. LaPorte, Kevin
(\5) 7. Liss, Paula 8] lo] 2O\8 , glial zoe
(iF 18. Magionos, Morgan 8] 8] 2018

(LoMs. Maxwell, Joel 8] 2]20418"

20. Metzler, Amanda
Q)) /21. Miceli, Peggy $14 [2018
22. Michael, Renee
(3) 23. Mikuska, Matthew 8/1 [204.8
24. O’Brien, Conor
@ “25. Opsut, Daniel 8/1/2018"
(2) A6. Rabin, Daniel 8/1] 2018
A). Raico, Dennis § [}0/QO18"
(4) 8. Regolizio, Michael 8) 212048
J29, Rodriguez. Taryn ¥]Q [2018
/30. Seferian, Gary $14] 2018
31. Sullivan, Stacey
32. Trusko, Alex
(5) 43. wall, Ronald 8]1] 2018
(a) As. Washkuhn, Heather §] 2] 2018
(ig) V35. Welch, Michael g IS}18
Q0)/ a, ANDREW CHOTNOWSK! B10] LOY’

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